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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SCOTT DOLEMBA,                                            )
on behalf of plaintiff and the class defined              )
below,                                                    )
                                                          )     Case No. 1:13-cv-07925
                       Plaintiff,                         )
                                                          )     Honorable Judge St. Eve
               vs.                                        )     Magistrate Judge Susan E. Cox
                                                          )
INSPHERE INSURANCE SOLUTIONS, INC.                        )
and DAVID SCOTT TUCKER a.k.a.                             )
SCOTT TUCKER,                                             )
                                                          )
                       Defendants.                        )

                                    STIPULATION TO DISMISS

       NOW COME the Parties, by and through their respective attorneys, and pursuant to Fed.
R. Civ. Proc. 41(a), hereby stipulate and agree to the dismissal of Plaintiff’s individual claims
against Defendants with prejudice, and with each party bearing its own costs. Plaintiff's class
claims are dismissed without prejudice and with each party bearing its own costs.               This
stipulation of dismissal disposes of the entire action.



                                                       Respectfully submitted,

PLAINTIFF                                           DEFENDANTS

SCOTT DOLEMBA                                       INSPHERE INSURANCE SOLUTIONS, INC.

s/Rebecca A. Cohen                                  s/David S. Almeida
Rebecca A. Cohen                                    David S. Almeida
EDELMAN, COMBS, LATTURNER &                         David Mitchell Poell
GOODWIN, LLC                                        SHEPPARD MULLIN RICHTER &
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(312) 739-4200                                      (312) 499-6349
Counsel for Plaintiff



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                                          DAVID SCOTT TUCKER

                                          s/ Donald Patrick Eckler

                                          Donald Patrick Eckler
                                          PRETZEL & STOUFFER, CHARTERED
                                          One South Wacker Drive, Suite 2500
                                          Chicago, IL 60606
                                          (312) 346 -1972

                                          Counsel for Defendants

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 


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                                CERTIFICATE OF SERVICE

        I, Rebecca A. Cohen, hereby certify that on December 29, 2014, the foregoing document
was filed electronically, and notification of such filing was served via the Court’s CM/ECF
system upon the following:

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                                           s/ Rebecca A. Cohen
                                           Rebecca A. Cohen




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